Case 1:19-cv-21678-BB Document 9 Entered on FLSD Docket 05/29/2019 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                            Case No. 19-cv-21678-BLOOM/Louis

 JACK KANG,

        Plaintiff,

 v.

 BURGER KING CORPORATION,

       Defendant.
 ________________________________/

                          ORDER ON DEFAULT PROCEDURES

        THIS CAUSE is before the Court upon a sua sponte examination of the record. Plaintiff

 filed the above-captioned action on April 30, 2019, ECF No. [1]. A summons was issued as to

 Defendant Burger King Corporation (“Defendant”) on May 1, 2019. ECF No. [4]. Service of the

 summons and Complaint was executed on Defendant on May 6, 2019, setting a response deadline

 of May 28, 2019. ECF No. [7]. To date, Defendant has failed to answer or otherwise respond to

 the Complaint. Accordingly, it is therefore ORDERED AND ADJUDGED that

                1.    Defendant must file its response to Plaintiff’s Complaint by or before June

                      5, 2019.

                2.    If Defendant fails to file any response to Plaintiff’s Complaint, Plaintiff

                      shall submit a Motion for Entry of Clerk’s Default with respect to Defendant

                      no later than June 12, 2019, that includes the certificate of service

                      indicating that notice of this Order was sent to Defendant, including the

                      address to which it was sent. Plaintiff’s failure to file for the Motion for
Case 1:19-cv-21678-BB Document 9 Entered on FLSD Docket 05/29/2019 Page 2 of 2
                                                          Case No. 19-cv-21678-BLOOM/Louis


                      Entry of Clerk’s Default within the specified time may result in dismissal

                      without prejudice and without further notice as to the Defendant.

               3.     The Plaintiff is directed to serve a copy of this Order upon all defaulting

                      Defendants.

        DONE AND ORDERED in Chambers at Miami, Florida, on May 29, 2019.




                                                      _________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record

 Burger King Corporation
 c/o C.T. Corporation System
 1200 S. Pine Island Road
 Plantation, Florida 33324




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